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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                )
                                         )   1:02-CR-5094 REC
                                         )
                      Plaintiff,         )   NEW CASE NUMBER:
                                         )
         v.                              )   1:02-CR-5094 LJO
                                         )
SALVADOR BARAJAS ANDRADE,                )
                                         )
                                         )   ORDER REASSIGNING CASE
                      Defendant.         )
                                         )
                                         )


         A motion having been filed pursuant to 18 USC 3582(c)(2),

it is ordered that this matter is reassigned from the docket of

United States District Judge Robert E. Coyle, to the docket of

United States District Judge Lawrence J. O’Neill.

         The hearing which was set for March 24, 2008, at 9:00 a.m.

Before Judge Ishii is re-set for March 28, 2008, at 9:00 a.m.

Before Judge O’Neill.

IT IS SO ORDERED.

Dated:   March 18, 2008                   /s/ Lawrence J. O'Neill
b9ed48                                UNITED STATES DISTRICT JUDGE




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